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 1 TALONYA ADAMS
   522 North Central Avenue
 2 Suite 25401
   Phoenix, Arizona 85004
 3
   talonya@gmail.com
 4 602.903.8809

 5   Plaintiff Pro Se

 6                          IN THE UNITED STATES DISTRICT COURT

 7                                FOR THE DISTRICT OF ARIZONA

 8

 9       Talonya Adams,                                      Case No. CV-17-00822-PHX-DLR
10                           Plaintiff,
                                                             NOTICE OF LODGING
11       v.                                                  PLAINTIFF’S PROPOSED
12                                                           FORM OF JUDGMENT
         Arizona Senate,
13                                                           (Assigned to the Hon. Douglas L. Rayes)
                             Defendant.
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15

16                 Notwithstanding Plaintiff Talonya Adams’ forthcoming motion and request for
17
     evidentiary hearing on damages from July 2019 to present, pursuant to the Court’s Order of
18
     November 16, 2021 (Dkt. No. 365), incorporating the Court’s Orders on October 17, 2019
19

20   (Dkt. No. 219) and December 14, 2020 (Dkt. No. 287), Ms. Adams hereby submits notice

21   of lodging Plaintiff’s Proposed Form of Judgment, as directed and delineated by the
22
     Honorable Douglas L. Rayes.1
23

24                 Ms. Adams seeks an entry of judgment that allocates $300,000 of the jury’s
25
     1Defendant Arizona Senate, separately filed Notice of Lodging Defendant’s Proposed Form of Judgment on
26   November 24, 2021 (Dkt. Nos. 371 and 371-1). Plaintiff opposes Defendant’s proposed allocation of
     $300,000 to two Title VII claims, “pro rata basis” apportionment of compensatory damages and allocation
27   of prejudgment interest to solely to backpay damages.

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 1   $2,750,000 damage award to her three Title VII claims: race discrimination, sex
 2
     discrimination and retaliation, in a non-apportioned sum. (Dkt. No. 10)
 3

 4             Ms. Adams seeks prejudgment interest compounded annually on the entire

 5   judgment award, including compensatory damages.
 6
               Ms. Adams seeks restoration of compensatory hours, vacation hours and sick
 7

 8   leave hours, rather than the liquidated monetary amounts of $2,220.40 and $2,704,

 9   respectively.
10
               Lastly, pursuant to Federal Rule of Civil Procedure 54(a) and Local Rule of Civil
11

12   Procedure 54.1 and 54.2(b)(1) the Ms. Adams reasserts her intention to file a motion for
13
     determination fo costs, attorney’s fees and non-taxable expenses within fourteen days after
14
     the entry of judgment.
15

16          RESPECTFULLY SUBMITTED this 26th day of November, 2021.
17

18

19
                                                      By: /s/Talonya Adams
20                                                           Talonya Adams
                                                             Plaintiff Pro Se
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 1
                                 CERTIFICATE OF SERVICE
 2
           I hereby certify that on November 26, 2021, I electronically transmitted the
 3
     foregoing document to the Clerk’s Office using the CM/ECF System for filing and
 4
     transmittal of a Notice of Electronic Filing to all CM/ECF registrants and emailed a copy
 5
     on to the following:
 6

 7

 8
   Mr. Michael Moberly
 9 RYLEY, CARLOCK & APPLEWHITE
   3200 North Central Avenue, Suite 1600
10 Phoenix, AZ 85012-2401

11 mmoberly@rcalaw.com
   Attorneys for Defendant
12
   Via Email: Rayes_chambers@azd.uscourts.gov
13 HONORABLE DOUGLAS L. RAYES
   U.S. District Court Judge
14
   Sandra Day O’Connor U.S. Courthouse, Suite 606
15 401 W. Washington Street
   Phoenix, Arizona 85003-2120
16

17
                                                          By: /s/ Talonya Adams
18                                                            Talonya Adams
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